                Case 8:21-bk-10958-ES                  Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44                                      Desc
                                                       Main Document    Page 1 of 46

Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Plamex Investment, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  6988 Beach Blvd, Suite B-215
                                  Buena Park, CA 90621
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  3100 E. Imperial Highway Lynwood, CA 90262
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 8:21-bk-10958-ES                      Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44                                   Desc
                                                            Main Document    Page 2 of 46
Debtor    Plamex Investment, LLC                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                 Case 8:21-bk-10958-ES                          Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44                                     Desc
                                                                Main Document    Page 3 of 46
Debtor    Plamex Investment, LLC                                                                        Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Attachment                                               Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
                Case 8:21-bk-10958-ES          Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44                               Desc
                                               Main Document    Page 4 of 46
Debtor   Plamex Investment, LLC                                                     Case number (if known)
         Name

                            $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                            $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                            $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 5 of 46
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 6 of 46
                  Case 8:21-bk-10958-ES               Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44                                Desc
                                                      Main Document    Page 7 of 46
Debtor     Plamex Investment, LLC                                                           Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA

Case number (if known)                                                   Chapter      11
                                                                                                                      Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     3100 E. Imperial Investment, LLC                                        Relationship to you               Affiliate (Parent)
           Central District of California, Santa
District   Ana Division                               When     4/14/21             Case number, if known
Debtor     The Source Hotel, LLC                                                   Relationship to you               Affiliate
           Central District of California, Santa
District   Ana Division                               When     2/26/21             Case number, if known             8:21-bk-10525-ES




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 6
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 8 of 46
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 9 of 46
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 10 of 46
                    Case 8:21-bk-10958-ES                            Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44                                             Desc
                                                                     Main Document    Page 11 of 46

 Fill in this information to identify the case:
 Debtor name Plamex Investment, LLC
 United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                                      Check if this is an
                                                CALIFORNIA - SANTA ANA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Planet Fitness                                                 Tenant Deposit          Contingent                                                                      $103,074.30
 125 E. Elm Street,
 Suite 300
 Conshohocken, PA
 19428
 Better & Best                                                  Vendor                                                                                                    $73,179.00
 Building Service Inc.
 1833 Avenida San
 Lorenzo
 Fullerton, CA 92833
 Southern California                                            Utilities                                                                                                 $37,243.19
 Edison
 2244 Walnut Grove
 Avenue
 Rosemead, CA
 91770
 Autofin USA                                                    Tenant Deposit          Contingent                                                                        $36,142.00
 3180 E. Imperial
 Hwy. #G
 Lynwood, CA 90262
 GTO Security                                                   Vendor                                                                                                    $35,338.00
 2202 S Figueroa
 Street, Suite 134
 Los Angeles, CA
 90017
 Bubbles Apparel                                                Tenant Deposit          Contingent                                                                        $30,076.99
 2839 Sycamore
 Avenue
 La Crescenta, CA
 91214
 Star Buffet Lynwood                                            Tenant Deposit          Contingent                                                                        $25,000.00
 11383 Long Beach
 Blvd
 Lynwood, CA 90262




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                    Case 8:21-bk-10958-ES                            Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44                                             Desc
                                                                     Main Document    Page 12 of 46


 Debtor    Plamex Investment, LLC                                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Waste Resources,                                               Utilities                                                                                                 $21,252.96
 Inc.
 23 Corporate Plaza
 Drive, Suite 247
 Newport Beach, CA
 92660
 Grupo Pakar LLC                                                Tenant Deposit          Contingent                                                                        $17,280.00
 9595 Six Pines Drive
 Suite 8210
 The Woodlands, TX
 77382
 JPL Event                                                      Tenant Deposit          Contingent                                                                        $17,000.00
 Enterprise LLC
 1238 South Beach
 Blvd
 Anaheim, CA 92804
 Jose Alan                                                      Tenant Deposit          Contingent                                                                        $16,000.00
 Sandoval-Iniquez
 15137 San Jose Ave
 Paramount, CA
 90723
 Fashion Qrew                                                   Tenant Deposit          Contingent                                                                        $14,418.00
 1324 E. Washington
 Blvd
 Los Angeles, CA
 90021
 Family Acupuncture                                             Tenant Deposit          Contingent                                                                        $14,000.00
 & Herb Clinic
 3150 E. Imperial
 Hwy B8-206
 Lynwood, CA 90262
 Bioncos La Huerta                                              Tenant Deposit          Contingent                                                                        $12,507.26
 8557 Orange Street
 Downey, CA 90242
 Real De Oaxaca                                                 Tenant Deposit          Contingent                                                                        $12,360.60
 11215 Long Beach
 Blvd #1010
 Lynwood, CA 90262
 Pho VNK                                                        Tenant Deposit          Contingent                                                                        $12,056.00
 3180 E. Imperial
 Hwy, Suite C
 Lynwood, CA 90262
 Hip Hop Zone                                                   Tenant Deposit          Contingent                                                                        $12,000.00
 3100 E. Imperial
 Hwy #1009
 Lynwood, CA 90262
 Grupo Concordia LA                                             Tenant Deposit          Contingent                                                                        $12,000.00
 5919 San Miguel
 Road
 Bonita, CA 91902




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                    Case 8:21-bk-10958-ES                            Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44                                             Desc
                                                                     Main Document    Page 13 of 46


 Debtor    Plamex Investment, LLC                                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 The Kickin' Crab                                               Tenant Deposit          Contingent                                                                        $11,706.94
 3170 Imperial Hwy
 B4B102
 Lynwood, CA 90262
 Happy Land                                                     Tenant Deposit          Contingent                                                                        $10,215.21
 6732 Los Verdes Dr.
 #3
 Rancho Palos
 Verdes, CA 90275




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 14 of 46
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 15 of 46
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 16 of 46




                                                28
    Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                            Main Document    Page 17 of 46


x
a
M
s
A
o
t
i
d
e
r
C
{
1
k
b
}




                       Plamex Investment, LLC
                       6988 Beach Blvd, Suite B-215
                       Buena Park, CA 90621


                       Ron Bender
                       Levene, Neale, Bender, Yoo & Brill L.L.P.
                       10250 Constellation Blvd., Suite 1700
                       Los Angeles, CA 90067


                       U.S. Trustee - Santa Ana
                       411 West Fourth Street
                       Suite 9041
                       Santa Ana, CA 92701-8000


                       333 Fashion
                       24641 Maple Ln
                       Harbor City, CA 90710


                       99 Cent Store & Up
                       1251 S. Montebello Blvd
                       Montebello, CA 90640


                       A & S Fashion
                       3100 E. Imperial Hwy
                       Lynwood, CA 90262


                       A Fashion Plus
                       20415 Berendo Ave
                       Torrance, CA 90502


                       Abigai Pacheco, Irina Rossi, et al.
                       3100 E. Imperial Hwy, Unit J11
                       Lynwood, CA 90262
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 18 of 46



                   Airbrush Nation
                   1004 N Pointsettia Ave APT D
                   Compton, CA 90221


                   Aldo's Key Shop
                   3100 E Imperial Hwy #1323
                   Lynwood, CA 90262


                   Alicia Vera Murillo
                   3100 E Imperial Hwy VCT17
                   Lynwood, CA 90262


                   All City Footwear
                   4035 Santa Anita LN
                   Yorba Linda, CA 92886


                   Angel's Bridal
                   3100 E Imperial Hwy
                   Lynwood, CA 90262


                   Angelica Fernandez Alvarez
                   13800 Parkcenter Ln
                   Tustin, CA 92782


                   Antonio de la Cruz, an individual
                   11175 Lynden Street
                   Lynwood, CA 90262


                   Arlene's Fashions
                   3100 E. Imperial Hwy B31005
                   Lynwood, CA 90262
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 19 of 46



                   Art Craft & Religious
                   3100 E Imperial Hwy VCT09
                   Lynwood, CA 90262


                   Art Nails
                   3100 E. Imperial Hwy Unit L9
                   Lynwood, CA 90262


                   Autofin USA
                   3180 E. Imperial Hwy. #G
                   Lynwood, CA 90262


                   Ave Beauty Supply
                   4020 Court Land Street
                   Lynwood, CA 90262


                   Azteca Jewelry
                   3100 E Imperial Hwy Unit E1
                   Lynwood, CA 90262


                   Beauty Zone
                   7526 Brookmill Rd.
                   Downey, CA 90241


                   Bebe Craft
                   8901 Calden Ave, APT#405
                   South Gate, CA 90280


                   Better & Best Building Service Inc.
                   1833 Avenida San Lorenzo
                   Fullerton, CA 92833
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 20 of 46



                   Big Discount
                   3100 East Imperial Highway
                   Lynwood, CA 90262


                   Bioncos La Huerta
                   8557 Orange Street
                   Downey, CA 90242


                   Birreria Jalisco
                   3180 E. Imperial Hwy A2D
                   Lynwood, CA 90262


                   Blanca Martinez
                   3100 E Imperial Hwy VKIO25
                   Lynwood, CA 90262


                   BM Classic Portaits
                   68 Pomona Ave
                   Long Beach, CA 90803


                   Boom Boom Sounds
                   8827 Mel Dar Ave
                   Downey, CA 90240


                   Boost Mobile
                   3100 E. Imperial Hwy, Unit B3-1002
                   Lynwood, CA 90262


                   Bubbles Apparel
                   2839 Sycamore Avenue
                   La Crescenta, CA 91214
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 21 of 46



                   BW Sports & Hobbies
                   14015 Camino Del Oro
                   Riverside, CA 92508


                   Candle Light Bakery
                   3150 E. Imperial Hwy, Ste 102
                   Lynwood, CA 90262


                   Capital Cap & Embroidery
                   1621 South Highland Avenue #K
                   Fullerton, CA 92832


                   Carrera Consessions
                   3100 E Imperial Hwy
                   Lynwood, CA 90262


                   Casa Colima
                   3200 Mulford Ave, Unit 202
                   Lynwood, CA 90262


                   Cell Mart
                   1122 Teri Avenue
                   Torrance, CA 90503


                   Chase Card Services
                   P.O. Box 15123
                   Wilmington, DE 19850


                   Chin Shoes
                   20019 Gridley Rd
                   Cerritos, CA 90703
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 22 of 46



                   Come Again
                   3307 Burton Ave
                   Lynwood, CA 90262


                   CWCapital Asset Management
                   900 19th Street NW, 8th Floor
                   Attn: Ariel Levin/Jake Hamel
                   Washington, DC 20006


                   Delicias Oaxaquenas
                   3100 E. Imperial Hwy B11312
                   Lynwood, CA 90262


                   DF Wireless
                   3200 Mulford Ave. #103
                   Lynwood, CA 90262


                   Diana Michel
                   3100 E. Imperial Hwy Unit H8
                   Lynwood, CA 90262


                   Diana Roman
                   3286 Burton Ave, APT A
                   Lynwood, CA 90262


                   Diana Yunhi Kim
                   1705 Downs Dr
                   Odessa, FL 33556


                   Diz N Dat
                   2905 Claredon Avenue, Apt. E
                   Huntington Park, CA 90255
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 23 of 46



                   Dolex Dollar Express, Inc.
                   701 Highlander Blvd #300
                   Arlington, TX 76015


                   Domino's Pizza
                   15198 Downey Ave
                   Paramount, CA 90723


                   Dulce Vida
                   16031 Pioneer Blvd., Apt. H-6
                   Norwalk, CA 90650


                   El Azul Jewelry
                   Plaza Mexico Unit #P4Q5
                   3100 E. Imperial Hwy
                   Lynwood, CA 90262


                   El Pollo Real
                   3100 E. Imperial Hwy, Unit 3009
                   Lynwood, CA 90262


                   Elizabeth Adame
                   3307 Burton Ave
                   Lynwood, CA 90262


                   Enciso Realty
                   249 S. Occidental Blvd #315
                   Los Angeles, CA 90057


                   Enrika Ochoa
                   3100 E Imperial Hwy Unit D7
                   Lynwood, CA 90262
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 24 of 46



                   Epax Systems, Inc.
                   14641 Arminta Street
                   Panorama City, CA 91402


                   F4 Jewelry
                   3100 E Imperial Hwy Unit F4
                   Lynwood, CA 90262


                   Family Acupuncture & Herb Clinic
                   3150 E. Imperial Hwy B8-206
                   Lynwood, CA 90262


                   Fancy Jewelry
                   1512 Amherst Ave Suite 206
                   Los Angeles, CA 90025


                   Farmacia Natural
                   20323 Dorothy Street
                   Santa Clarita, CA 91350


                   Farmacia Natural
                   3100 E Imperial Hwy Unit S9
                   Lynwood, CA 90262


                   Farmacia Naturista Mexicana
                   3100 E Imperial Hwy Unit E2
                   Lynwood, CA 90262


                   Farmers Insurance Agency
                   3150 E. Imperial Hwy, #113
                   Lynwood, CA 90262
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 25 of 46



                   Faro Optometry
                   27381 Glenwood Drive
                   Mission Viejo, CA 92692


                   Fashion Qrew
                   1324 E. Washington Blvd
                   Los Angeles, CA 90021


                   Fashion Time
                   3100 E. Imperial Hwy Unit J2J3
                   Lynwood, CA 90262


                   First Aid Urgent Care
                   7204 Foothill Boulevard
                   Tujunga, CA 91042


                   Flor Paredes
                   11436 Peach St
                   Lynwood, CA 90262


                   Flores Bautista Gloria O.
                   1433 Kingsmill Ave
                   Rowland Heights, CA 91748


                   Global Jewelry
                   8247 Haseltime
                   Buena Park, CA 90621


                   Gloria Flores
                   1433 Kingsmill Avenue
                   Rowland Heights, CA 91748
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 26 of 46



                   Grainger
                   1050 W. Walnut Street
                   Compton, CA 90220


                   Grupo Concordia LA
                   5919 San Miguel Road
                   Bonita, CA 91902


                   Grupo Pakar LLC
                   9595 Six Pines Drive Suite 8210
                   The Woodlands, TX 77382


                   GTO Security
                   2202 S Figueroa Street, Suite 134
                   Los Angeles, CA 90017


                   Guillermo CamberosPreciado
                   307 E. Jefferson Blvd Suite 328
                   Los Angeles, CA 90011


                   Han's Toy
                   3100 E Imperial Hwy
                   Lynwood, CA 90262


                   Happy Chinese
                   3100 East Imperial Highway
                   Lynwood, CA 90262


                   Happy Land
                   6732 Los Verdes Dr. #3
                   Rancho Palos Verdes, CA 90275
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 27 of 46



                   Happy Rice
                   3100 E. Imperial Hwy #3008
                   Lynwood, CA 90262


                   Hermandad Mexicana Legal Centers
                   210 W. Adams Blvd
                   Los Angeles, CA 90007


                   Hip Hop Zone
                   3100 E. Imperial Hwy #1009
                   Lynwood, CA 90262


                   Hoon Ko
                   1621 S. Highland Ave Apt K
                   Fullerton, CA 92832


                   Inti Arts & Craft
                   3100 E Imperial Hwy
                   Lynwood, CA 90262


                   Ivette By Mitzy
                   2633 McKinney Ave Ste 130-363
                   Dallas, TX 75214


                   Jang's Men's Fashion
                   3100 E. Imperial Hwy
                   Lynwood, CA 90262


                   Jesus Garcia
                   11145 Bellinger Street
                   Lynwood, CA 90262
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 28 of 46



                   Jesus Garcia
                   11145 Bellinser
                   Lynwood, CA 90262


                   Jewelry and Beauty Inc
                   5500 Torrance Blvd, C132
                   Torrance, CA 90503


                   Jimmy Choi
                   3100 East Imperial Highway
                   Lynwood, CA 90262


                   Jong R Jang
                   3100 E Imperial Hwy
                   Lynwood, CA 90262


                   Jose Alan Sandoval
                   15137 San Jose Ave
                   PARAMOUNT, CA 90723


                   Jose Alan Sandoval Iniguez
                   15137 San Jose Ave
                   PARAMOUNT, CA 90723


                   Jose Alan Sandoval-Iniquez
                   15137 San Jose Ave
                   Paramount, CA 90723


                   Jose Gutierrez-Torres
                   15137 San Jose Ave
                   Paramount, CA 90723
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 29 of 46



                   Joy Sports Wear
                   3100 E. Imperial Hwy Unit F5
                   Lynwood, CA 90262


                   JPL Event Enterprise LLC
                   1238 South Beach Blvd
                   Anaheim, CA 92804


                   Kat's Lingerie
                   1735 Lincoln Ave #40
                   Torrance, CA 90501


                   Kid's Love
                   1413 Lomita Blvd Suite 3
                   Harbor City, CA 90710


                   Kiddie World
                   1936 Delmesa Ave
                   Hacienda Heights, CA 91745


                   Kiddie World II
                   1936 Delmesa Ave
                   Hacienda Heights, CA 91745


                   Kone Inc.
                   1821 Tyburn Street
                   Glendale, CA 91204


                   L' Dorado Jewelry
                   3100 E Imperial Hwy Unit D6
                   Lynwood, CA 90262
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 30 of 46



                   La Casa De La Novia
                   11641 State St
                   Lynwood, CA 90262


                   LA Michoacana
                   2506 W. Adams
                   Santa Ana, CA 92704


                   La Parisina
                   9728 Brookgreen Rd
                   Downey, CA 90240


                   Leticia Torres
                   3796 Millstone Court
                   Pomona, CA 91766


                   Libreria Libertadores, LLC
                   3351 Marine Ave APT 42
                   Gardena, CA 90249


                   LimNexus LLP
                   707 Wilshire Boulevard, 46th Floor
                   Los Angeles, CA 90017


                   Lizette M. Cortez
                   12852 Lakewood Blvd, Apt 1
                   Downey, CA 90242


                   Lucky Gold
                   3100 East Imperial Highway, Unit I7
                   Lynwood, CA 90262
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 31 of 46



                   Luis Fernando Alcantar-Rojo
                   10111 State Street
                   Lynwood, CA 90262


                   Lynwood Alteration
                   3100 East Imperial Highway
                   Lynwood, CA 90262


                   Lynwood Auto Accessories
                   3100 East Imperial Highway
                   Lynwood, CA 90262


                   Lynwood United Medical
                   3150 E. Imperial Hwy., Ste. 203
                   Lynwood, CA 90262


                   Mago's Acupuncture
                   3100 E. Imperial Hwy Unit B5
                   Lynwood, CA 90262


                   Marci Pizza
                   3100 East Imperial Highway
                   Lynwood, CA 90262


                   Marco Antonio Juarez Cruz
                   11166 Penn St
                   Lynwood, CA 90262


                   Maria Luisa Rojo Alvarez
                   10960 Duncan Avenue
                   Lynwood, CA 90262
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 32 of 46



                   Mariscos El Rey
                   3100 E. Imperial Hwy Ste. #3002
                   Lynwood, CA 90262


                   Mariscos Rio Balsas
                   3100 E Imperial Hwy Unit Q11
                   Lynwood, CA 90262


                   Marquez Trading
                   3100 E. Imperial Hwy Ste#1301
                   Lynwood, CA 90262


                   Marshmallow
                   1413 Lomita Blvd Suite 3
                   Harbor City, CA 90710


                   Mauro Valdez Sandoval
                   1623 E. 117 Place
                   Los Angeles, CA 90059


                   Mean Chix, Inc. - Hot Chix
                   772 N. Van Ness Avenue Apt 6
                   Los Angeles, CA 90028


                   MG Colombian Boutique
                   9728 Brookgreen Rd
                   Downey, CA 90240


                   Mike Kim / T-Mobile
                   3100 E. Imperial Hwy, Unit #B2-1203
                   Lynwood, CA 90262
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 33 of 46



                   Milbes Men's Wear
                   3100 E. Imperial Hwy Unit O234
                   Lynwood, CA 90262


                   Militar's Cut Unisex
                   6037 Priory St
                   Bell Gardens, CA 90201


                   MoMo Trading
                   3100 E Imperial Hwy
                   Lynwood, CA 90262


                   Mr. Hammer Shoes
                   3100 E. Imperial Hwy, Unit P10B
                   Lynwood, CA 90262


                   Mundo de Artesanias
                   3100 E Imperial Hwy VKIO24
                   Lynwood, CA 90262


                   Muzak
                   3318 Lakemont Blvd.
                   Fort Mill, SC 29708


                   Natixis, New York Branch
                   1251 Avenue of the Americas
                   New York, NY 10020


                   New Trends Clothing, Inc.
                   6602 Gifford Ave
                   Bell, CA 90201
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 34 of 46



                   North American Amusements
                   1502 Foothill Blvd
                   Suite 103 PMB 218
                   La Verne, CA 91750


                   Nueva Vision Optical
                   3100 E. Imperial Hwy #1109
                   Lynwood, CA 90262


                   Officenet, Inc.
                   10410 Pioneer Blvd Suite 2
                   Santa Fe Springs, CA 90670


                   One Hour Photo
                   3100 East Imperial Highway
                   Lynwood, CA 90262


                   Pang Pang Donuts
                   3100 East Imperial Highway
                   Lynwood, CA 90262


                   Perfecto Nails
                   3100 East Imperial Highway
                   Lynwood, CA 90262


                   Perfumes and Hair Products
                   3150 E. Imperial Hwy #101
                   Lynwood, CA 90262


                   Perkins Coie LLP
                   1888 Century Park East, Suite 1700
                   Attn: Mark Birnbaum
                   Los Angeles, CA 90067
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 35 of 46



                   Perkins Coie LLP
                   2901 N. Central Ave., Suite 2000
                   Attn: Liana W. Spendlove
                   Phoenix, AZ 85012


                   Pho VNK
                   3180 E. Imperial Hwy, Suite C
                   Lynwood, CA 90262


                   Pink Melon
                   22920 Entoril Dr. Suite 1
                   Diamond Bar, CA 91765


                   Pinky's Threading
                   3100 E. Imperial Hwy #1107
                   Lynwood, CA 90262


                   Pkim, Inc.
                   4540 Campus Drive, Suite 123
                   Newport Beach, CA 92660


                   Planet Fitness
                   125 E. Elm Street, Suite 300
                   Conshohocken, PA 19428


                   Point Exterminators Inc.
                   1612 Arlington Avenue
                   Los Angeles, CA 90019


                   Pretzeria
                   3961 Via Marisol APT#318
                   Los Angeles, CA 90042
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 36 of 46



                   Primo's Pet Shop
                   4221 Shirley Ave
                   Lynwood, CA 90262


                   Pro Sports
                   18529 Stonegate Ln
                   Rowland Heights, CA 91748


                   Professional Documents, Inc.
                   3150 E. Imperial Hwy B8107
                   Lynwood, CA 90262


                   Progreso Financiero
                   2 Circle Star Way
                   San Carlos, CA 94070


                   Rachel's Secret
                   10609 Newville Avenue
                   Downey, CA 90241


                   Rainbow Beauty
                   525 N Gilbert St # 62
                   Anaheim, CA 92801


                   Ray's Fashion
                   3100 East Imperial Highway
                   Lynwood, CA 90262


                   Real De Oaxaca
                   11215 Long Beach Blvd #1010
                   Lynwood, CA 90262
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 37 of 46



                   Regency Fire & Security Services
                   7651 Densmore Ave
                   CA 94106


                   Ricardo Gonzalez
                   8616 S Main Street
                   Los Angeles, CA 90003


                   Rinconcito Poblano
                   3100 E. Imperial Hwy B13007
                   Lynwood, CA 90262


                   Robert's Fashion
                   3100 E Imperial Hwy Unit D4
                   Lynwood, CA 90262


                   Roberto Navarro
                   2729 NEBRASKA AVE APT#C
                   SOUTH GATE, CA 90280


                   Rosarios y Pulseras Estilo Sinaloa
                   2731 Nebraska Ave Apt C
                   South Gate, CA 90280


                   Rosy's Beauty Salon
                   3150 E. Imperial Hwy B8110 & 111
                   Lynwood, CA 90262


                   S.M. Foot Wear
                   3100 E. Imperial Hwy Unit H5H6
                   Lynwood, CA 90262
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 38 of 46



                   Sang Gyu Shin
                   10972 Golden Rod St
                   Redlands, CA 92373


                   Say Cheese Photo
                   3100 E. Imperial Hwy #B2-1104
                   Lynwood, CA 90262


                   Shoes 4 Less
                   3117 Rimrock Cic
                   Fullerton, CA 92833


                   Snow Factory
                   3580 WILSHIRE BLVD STE 1655
                   Los Angeles, CA 90010


                   Southern California Edison
                   2244 Walnut Grove Avenue
                   Rosemead, CA 91770


                   Spacetel LA Inc. - Cricket Wireless
                   3100 E. Imperial Hwy, Unit B2-1103
                   Lynwood, CA 90262


                   Sport Time
                   8571 Cedar St
                   Bellflower, CA 90706


                   Sri Eyebrow Threading and Nails
                   11225 Long Beach Blvd #202
                   Lynwood, CA 90262
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 39 of 46



                   Stacy Han
                   9475 Rosemarie Ct
                   Cypress, CA 90630


                   Star Buffet Lynwood
                   11383 Long Beach Blvd
                   Lynwood, CA 90262


                   Stephanie's Lingerie
                   2941 Wisconsin Ave
                   South Gate, CA 90280


                   Street Cellular
                   11282 Streamfield Center
                   Riverside, CA 92505


                   Sun Hye Chung
                   4115 W 182nd St., Suite 14
                   Torrance, CA 90504


                   Sun Pac Containers
                   23222 Olive Avenue
                   Lake Forest, CA 92630


                   Sung Ryong Lee
                   4033 Santa Anita Ln
                   Yorba Linda, CA 92886


                   Sunny Fashion
                   3185 Wilshire Blvd Suite 281
                   Los Angeles, CA 90010
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 40 of 46



                   Super Image Factory
                   3100 E. Imperial Hwy Ste #1321
                   Lynwood, CA 90262


                   Sweet Stone Jewelry
                   135 Islington
                   Irvine, CA 92620


                   Tacos Don Luis
                   3981 Le Sage St.
                   Lynwood, CA 90262


                   TacoTento
                   3100 E. Imperial Hwy, Unit P10B
                   Lynwood, CA 90262


                   Tamales
                   3100 E. Imperial Hwy Unit 1310
                   Lynwood, CA 90262


                   Tesoro Jewelry
                   315 Wild Ginger
                   Yorba Linda, CA


                   The Kickin' Crab
                   3170 Imperial Hwy B4B102
                   Lynwood, CA 90262


                   The Lynwood Redevelopment Agency
                   11330 Bullis Road
                   Lynwood, CA 90262
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 41 of 46



                   TJ Nails Spa
                   11337 Long Beach Blvd
                   Lynwood, CA 90262


                   Top Fashion
                   3100 E. Imperial Hwy Unit H7I6
                   Lynwood, CA 90262


                   Top Fashion
                   3100 E Imperial Hwy Unit E3
                   Lynwood, CA 90262


                   Torres Enterprise Corp.
                   426 N Main Street
                   Elkhart, IN 46516


                   Tortas Ahogadas
                   3100 Imperial Hwy, Ste B1-3001
                   Lynwood, CA 90262


                   TS Discount
                   7860 Paramount BL, J-39
                   Pico Rivera, CA 90660


                   Twin Scoop Ice Cream
                   1410 S Dwight Ave
                   Compton, CA 90220


                   Una Mexicana Que Fruta Vendia
                   7123 Rio Flora Place
                   Downey, CA 90241
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 42 of 46



                   Usama Awadallah
                   5832 Newman Street
                   Cypress, CA 90630


                   Vergara Insurance Service, Inc.
                   3100 East Imperial Hwy Unit U6
                   Lynwood, CA 90262


                   Veronica's Insurance
                   290 W. Orange Show Rd Suite 100
                   San Bernardino, CA 92408


                   Victoria
                   3100 East Imperial Highway
                   Lynwood, CA 90262


                   Virginia Jovel
                   13257 Deming Street
                   Downey, CA 90242


                   Vivian's Bakery
                   3100 East Imperial Highway
                   Lynwood, CA 90262


                   Waste Resources, Inc.
                   23 Corporate Plaza Drive, Suite 247
                   Newport Beach, CA 92660


                   Wateria
                   3100 E. Imperial Hwy B2/1209
                   Lynwood, CA 90262
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 43 of 46



                   Wedding Chapel
                   3150 E. Imperial Hwy B8106
                   Lynwood, CA 90262


                   Wells Fargo Bank, N.A., as Trustee
                   Morgan Stanley Cap I Trust 2016-UBS
                   9062 Old Annapolis Road
                   Columbia, MD 21045


                   Wesco Specialist, Inc.
                   1031 Lime Tree Place
                   Fullerton, CA 92833


                   X-Phone
                   4960 Adriano Drive
                   Cypress, CA 90630


                   Yogurt de Armo
                   3100 E. Imperial Hwy, Unit #B31003
                   Lynwood, CA 90262


                   Yogurtland
                   11215 Long Beach Blvd. #1007
                   Lynwood, CA 90262


                   Yon Kyung Choi dba Lucky Accessorie
                   3100 E. Imperial Hwy., Unit F1
                   Lynwood, CA 90262


                   Yoshiharu Ramen Express
                   15476 Canon Lane
                   Chino Hills, CA 91709
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 44 of 46



                   Young Electric Sign Company
                   6725 W Chicago Street
                   Chandler, AZ 85226
      Case 8:21-bk-10958-ES                       Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44                                                    Desc
                                                  Main Document    Page 45 of 46


Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &         FOR COURT USE ONLY
Email Address
Ron Bender 143364
10250 Constellation Blvd., Suite 1700
Los Angeles, CA 90067
(310) 229-1234 Fax: (310) 229-1244
California State Bar Number: 143364 CA
rb@lnbyb.com




     Attorney for: Debtor
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                        CASE NO.:
         Plamex Investment, LLC                                               ADVERSARY NO.:
                                                                   Debtor(s), CHAPTER: 11

                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                       PURSUANT TO FRBP 1007(a)(1)
                                                                                         and 7007.1, and LBR 1007-4

                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,    Donald Chae                                                             , the undersigned in the above-captioned case, hereby declare
                 (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
Case 8:21-bk-10958-ES   Doc 1 Filed 04/14/21 Entered 04/14/21 12:35:44   Desc
                        Main Document    Page 46 of 46
